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 6
 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9
      PORSHIA JONES, an Individual;      )       Case No.: CV 13-05525-MWF (CWx)
10                                       )
                                         )       Hon. Michael W. Fitzgerld
11           Plaintiff,                  )
                                         )       Courtroom: 1600
12           vs.                         )
                                         )
13    TRANSUNION LLC, is a Corporation; )        ORDER RE: REQUEST FOR
      EXPERIAN INFORMATION               )       DISMISSAL AS TO THE FIRST
14    SOLUTIONS INC, is a Corporation;   )       CAUSE OF ACTION AGAINST
      GLOBAL MOTORCARS OF                )       CORELOGIC CREDCO LLC,
15    HOUSTON, an unknown business       )       WITHOUT PREJUDICE
      entity; SKY RECOVERY SERVICES, )
16    is a business entity form unknown; )
      CORELOGIC CREDCO LLC, a            )
17    business entity, form unknown, and )
      DOES 2-10, Inclusive,              )
18                                       )
             Defendants.                 )
19                                       )
                                         )
20                                       )
21    GOOD CAUSE APPEARING:
22          The Court hereby dismisses the First Cause of Action, without prejudice, as
23    to Defendant Corelogic Credco LLC, only.
24    Dated: April 21, 2014
25
26                                    _________________________
                                      MICHAEL W. FITZGERALD
27                                    UNITED STATES DISTRICT JUDGE
28

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                      [PROPOSED] ORDER RE: REQUEST FOR DISMISSAL
